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                                                     CHAPTER 13 NARRATIVE STATEMENT OF PLAN

 RE: Troy Anthony Callais                                                                 Case No:

Payment to the Trustee: shall be made from the debtor(s)' employer as set forth below:


THE DEBTOR PROPOSES TO PAY $550.00 per month for 60 months TO THE TRUSTEE.

 Name of Employer:                                Callias Mobile Detail
 Address:                                         2 Walnut St.
                                                  Greenbrier, AR 72058
 Phone Number:

Indicate how often the Debtor is paid by checking the appropriate box below:
                        weekly                             semi-monthly                                        Other: (Please specify)
                        bi-weekly                          monthly                                          XX SELF PAY

THE FIRST PAYMENT WILL BE MADE TO THE TRUSTEE WITHIN THIRTY (30) DAYS FROM THE
DATE OF THE FILING OF THE PETITION.


PLAN LENGTH:

The debtor proposes to pay all disposable income into the plan for the benefit of unsecured creditors for not less than the
applicable commitment period (unless unsecured are being paid 100%). The plan length shall not exceed 60 months.

The debtor's plan length is 60 months.

I.        ADMINISTRATIVE COSTS:

          1. TRUSTEE'S FEES AND EXPENSES.
          2. ATTORNEY FEE:*
                       to be paid through the plan:                                                         5,000.00
                       paid to Attorney prior to filing:                                                        0.00

       *All Attorney Fees must be approved by separate application.

II.       CHILD SUPPORT: Check the appropriate boxes.

      The Debtor has no child support obligations.

DSO Creditor
NAME AND ADDRESS OF CHILD SUPPORT RECIPIENT:

CREDITOR TO WHOM CHILD SUPPORT IS OWED:


          Regular Payment:
            The regular monthly support payment shall be paid by the debtor directly.
            The regular monthly support payment of $ shall be paid through the plan.

          Arrearage Payment: The total back child support is $                     and shall be paid through the plan at a pro rata monthly
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          amount.

III.      LONG TERM DEBTS:

The following debts will extend beyond the length of the plan. During the plan, the Trustee is to pay the regular,
continuing monthly payment. If the claim is already in default, the Trustee will pay an additional sum each month until the
default has been cured, in accordance with 11 U.S.C. § 1322(b)(5). Upon completion of the plan, the debtor will resume
payments on such claims pursuant to the terms of the original agreement.

                                                                                                                   AMOUNT PER MONTH TO
                            CREDITOR                                      REG PYMT             ARREARAGE               CURE ARREARAGE
           -NONE-

IV.       SECURED DEBTS WHICH WILL NOT EXTEND BEYOND THE LENGTH OF THE PLAN:

Secured creditors who will retain their liens and be paid the value of their collateral or the amount of their allowed debt,
whichever is less, shall be paid as follows:

               CREDITOR                               DEBT               VALUE        INT.        MO.           ADEQUATE      ADEQUATE
                                                                                     RATE*       PYMT         PROTECTION     PROTECTION
                                                                                                                 MON PMT     INTEREST IF
                                                                                                                            APPLICABLE**
           -NONE-

             *If this space is left blank, no interest is paid.

             ** Over Secured Creditors only and must specify contract rate.

             ANY AMOUNT CLAIMED BY THE CREDITOR THAT EXCEEDS THE VALUE OF THE
             COLLATERAL WILL BE TREATED AS A NONPRIORITY UNSECURED CLAIM.

V.        PMSI SECURED CLAIMS TO WHICH § 506 VALUATION IS NOT APPLICABLE:

                CREDITOR                                        DEBT             VALUE         INT.        MO.           ADEQUATE
                                                                                              RATE*       PYMT         PROTECTION
                                                                                                                          MON PMT
           BMW Financial
 1.        Services                                           9,444.89           14,150.00     5.00%          178.24         100.00
 2.        First Service Bank                                 1,788.89            7,425.00     5.00%           33.76         100.00

             *If this space is left blank, no interest is paid.

VI.       PROPERTY TO BE SURRENDERED:

          The following are creditors to whom the Debtor surrenders the property securing the claim in accordance with 11
          U.S.C. § 1325(a)(5)(C). No further payments are to be made to the creditor on the secured claim; however,
          the creditor may file a claim for the deficiency and it will be treated as a nonpriority unsecured creditor.

                         CREDITOR                                                            DESCRIPTION OF PROPERTY
                                                                     2007 Nissan Murano 115000 miles
       1. Ally Financial                                             Friend drives and making payments.
                                                                     2014 BMW S1000RR
       2. BMW Financial Services                                     Friend making payment.
                                                                     2014 Triumph Daytona 675R
       3. Freedom Road Financial                                     Friend is driving and making payments.


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                         CREDITOR                                                          DESCRIPTION OF PROPERTY
                                                                     2014 Harley Davidson VRod Muscle
      4. Harley Davidson Finance                                     Friend drives and making payments.
                                                                     2007 Hyabusa GSXR 1300
      5. Harley Davidson Finance                                     Friend David Burnette pays on his own
      6. Wells Fargo Home Mortgage                                   2 Walnut St. Greenbrier, AR 72058 Faulkner County

VII. PRIORITY DEBTS:

          Priority debts shall be paid in full in accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated in this
          plan.

VIII. UNSECURED DEBTS:

CLAIMS SHALL BE PAID 100% UNLESS A DIFFERENT TREATMENT IS INDICATED BELOW:

                                        Unsecured creditors shall be paid a definite percentage of their claims as filed and allowed by the
                                        court. That percentage is   %.

                                         Unsecured creditors shall receive $              to be disbursed in accordance with § 1322 and § 1325.

                                        Unsecured creditors shall receive a pro rata dividend from funds remaining after payment of
                                        administrative, long-term secured/unsecured, secured, priority, child support and special
                                        nonpriority unsecured claims and the debtor shall pay all projected disposable income into the
                                        plan for the benefit of unsecured creditors.

IX.       SPECIAL NONPRIORITY UNSECURED DEBTS:

          The following consumer debts shall be paid prior to other unsecured debts. The reason for this special treatment is
          stated below. Claims shall be paid in full (100%) unless a different treatment is indicated.

                                                                                       INT
                         CREDITOR                                        DEBT         RATE*          MO PYMT         REASON
           -NONE-

             *If space is left blank, no interest is to be paid.

X.        DEBTS WHICH ARE NOT TO BE PAID BY THE TRUSTEE:

          The only debts which may be paid directly are:
          1) the home mortgage, if current;
          2) lease payments, if current;
          3) child support payments per court order;
          4) debts which are actually being paid by someone other than the debtor from property that is not property of the
          estate.

                         CREDITOR                                         DESCRIPTION OF PROPERTY/NATURE OF OBLIGATION
           -NONE-


XI.       EXECUTORY CONTRACTS:

           The debtor ( ) assumes or ( ) rejects the following executory contract or unexpired lease. If rejected, no
           further payments are to be made to the creditor on the contract or lease; however, the creditor may file a
           claim for the deficiency and will be treated as a nonpriority unsecured creditor.
             CREDITOR                               CONTRACT AND/OR DESCRIPTION OF LEASED PROPERTY
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           The debtor ( ) assumes or ( ) rejects the following executory contract or unexpired lease. If rejected, no
           further payments are to be made to the creditor on the contract or lease; however, the creditor may file a
           claim for the deficiency and will be treated as a nonpriority unsecured creditor.
             CREDITOR                               CONTRACT AND/OR DESCRIPTION OF LEASED PROPERTY
           -NONE-

XII. SALE OF ASSETS:

          The debtor proposes to sell the described real estate or personal property, after court approval and notice to creditors
          and the trustee, and will commit the proceeds as follows:

                                                                     DATE BY WHICH
                                                                        SALE IS
                                                                         TO BE                TOTAL               DISPOSITION OF
   PROPERTY DESCRIPTION                                              CONSUMMATED             PROCEEDS               PROCEEDS
 -NONE-

XIII. OTHER PROVISIONS:

          Other provisions of the plan which are not inconsistent with Title 11 of the United States Code, pursuant to 11
          U.S.C. §1322(b)(10), are as follows:



The property of the estate shall continue to be property of the estate until such time as a discharge is granted or the case is
dismissed. Unless otherwise provided, the debtor shall remain in possession of all property of the estate.

In the event that a secured claim is allowed which is not provided for in the plan, then the trustee shall pay such
creditor in full after this plan has in all other respects been completed.

In order to assist the debtor in performance of the plan, the trustee may from time to time grant refunds to the debtor as
may be necessary to satisfactorily complete the plan, provided that all sums necessary to complete the plan are ultimately
paid by the debtor.

 Date: November 13, 2017                                                               /s/ Troy Anthony Callais
                                                                                       Troy Anthony Callais
                                                                                       Debtor's Signature

 /s/ Brian Wilson
 Brian Wilson 2001096
 Attorney's Signature




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